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                  IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FIFTH CIRCUIT


STATE OF TEXAS, et al.,                     )
                                            )
            Petitioners,                    )
                                            )
            v.                              )       Case No. 16-60670
                                            )
UNITED STATES ENVIRONMENTAL                 )
PROTECTION AGENCY and GINA                  )
MCCARTHY, Administrator, U.S. EPA,          )
                                            )
          Respondents.                      )
_________________                           )


                 NOTICE OF FILING OF CERTIFIED INDEX
                     TO ADMINISTRATIVE RECORD

      Respondents, the United States Environmental Protection Agency and Gina

McCarthy, Administrator, hereby submit the certified index of the administrative

record prepared in connection with the above-captioned petition for review.

DATED: November 21, 2016                    Respectfully submitted,

                                            JOHN C. CRUDEN
                                            Assistant Attorney General
                                            Environment & Natural Resources
                                            Division

                                            /s/ Chloe H. Kolman________
                                            CHLOE H. KOLMAN
                                            U.S. Department of Justice
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                   CERTIFICATION FOR ECF PLEADING

      Pursuant to ECF Filing Standards Section A(6), I hereby certify that all
required privacy redactions have been made; that no hard copies are required to be
submitted to the clerk’s office so Section A(6)(2) is not relevant; and that the ECF
submission was scanned for viruses with Microsoft’s Forefront Client Security,
which is updated daily, and, according to the program, is free of viruses.


DATED: November 21, 2016                     /s/ Chloe H. Kolman________
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                                             Counsel for Respondents




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                         CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2016, I electronically filed the
foregoing Notice of Filing of Certified Index to Administrative Record with the
Clerk of the Court for the United States Court of Appeals for the Fifth Circuit by
using the appellate CM/ECF system. The participants in the case are registered
CM/ECF users and service will be accomplished by the appellate CM/ECF system.

                                            /s/ Chloe H. Kolman________
                                            CHLOE H. KOLMAN




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                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                         REGION6
                               1445 ROSS AVENUE , SUITE 1200
                                    DALLAS TX 75202-2733

                       IN THE UNITED ST ATES COURT OF APPEALS
                                FOR THE FIFTH CIRCUIT


STATE OF TEXAS et. al.,   )
Petitioner                )
                          )                                        Case No. 16-60670
v.                        )
                          )
UNITED STATES             )                                        CERTIFIED INDEX
ENVIRONMENT AL PROTECTION )                                        TO ADMINISTRATIVE RECORD
AGENCY and GINA MCCARTHY, )
Administrator, U.S. EPA,  )
Respondents.              )




      As Director of the Multimedia Division for the United States Environmental

Protection Agency, Region 6, I hereby certify to the best of my knowledge and

belief that the attached index constitutes the Certified Index to the Administrative

Record forming the basis for EPA's Final Rule entitled "Approval and

Promulgation of Air Quality Implementation Plans; Texas; Interstate Transport of

Air Pollution for the 2008 Ozone National Ambient Air Quality Standards,"

published at 81 Fed. Reg. 53,284 (Aug. 12, 2016).




                                              Wren Stenger
                                              Director, Multimedia D vision, EPA Region 6

      Date: November 15, 2016
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                                                           NO. 16-60670

                                IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE FIFTH CIRCUIT

          STATE OF TEXAS and TEXAS COMMISSION ON ENVIRONMENTAL QUALITY,
                                      Petitioners,
                                                                    v.
                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,
                                        Respondent.


l' inal Disapproval of the Clean Air Act 11 O(a)(2)(D)(i)(I) portion of Texas's Infrastructure and Interstate
     Transport State Implementation Plan for the 2008 Ozone National Ambient Air Quality Standards

                                     EPA Certified Administrative Record Index


                                                         Rulemaking Documents
                                                                                                                                        - ~--------1

     EPA             DATE                               TITLE                                  DOCUMENT                   AUTHOR             RECIPIENT
     Doc. #                                                                                      TYPE
           1        08-1 2-2016   Approval and Promulgation of Air Quality                         Final Ruic, Federal   EP /\. , Region 6
rr:i> A- R06-0AR-                 Implementation Plans; Texas; I ntcrstatc                         Register
20 12-0985-0007]                  Transport or Air Pollution for the 2008
                                  Ozone National Ambient Air Qual ity
                          ___     S ta ~Qa_.!:~ s ; Final Rui c; 81 F9_d_. R     . . _53_2_84_ __.___ _ _
                                                                           _ c__,g._




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                                      (August 12, 2016) lDocket No. EP/\.-R06-
                                      O/\.R-2012-09851
         2              04-11-2016    Approval and Promulgation of Air Quality     Proposed Ruic,     EP/\., Region 6
 IEPA-R06-0/\.R-                      Implementation Plans; Texas; Interstate      rederal Register
 2012-0985-000 I]                     Transport of /\.ir Pollution for the 2008
                                      Ozone National Ambient Air Quality
                                      Standards; Proposal Ruic; 81 Fed. Reg.
                                      21290 (April 11, 2016) [Docket No. EPA-
                                      R06-0AR-2012-09851

                                                           Submittal Package
                                                                                                                              - - -- -
             EPA         DATE                          TJTLI~                       DOCUMENT           AUTHOR           RECIPIENT
             Doc.#                                                                    TYPE
               ,.,
               ..)      12- 13-2012   Texas Infrastructure and Transport SIP        Document          Texas             Richard E.
  fEl>/\.-R06-0 /\.R-                 Submittal for the 2008 Ozone National                           Commission        Greene,
  2012-0985-00021                     Ambient Air Quality Standard (NAAQS).                           on                Regional
                                      Texas Project No . 2012-004-S IP-NR,                            Environmental     Administrator,
                                      submitted to E PA December 13, 2012 (TX-                        Quality           F PA, Region 6
                                      339, SIP) I EPA-R06-0AR-2012-0985]                              (TCEQ)



                                                       Public Comment Letters
f - --   -    -

             EPA         DATE                          TITLE                         DOCUMENT              AUTHOR       RECIPIENT
             Doc.#                                                                     TYPE
               4        05-11-2016    TCEQcover letter and comment letter lo        Public comment    Richard/\..       EPA
  EPA-R06-0/\.R-                      EPA EP /\. Docket Center, Air and             letter document   I Iydc, P.E.,
  2012-0985-0005                      Radiation Docket; Re: Docket ID No. I-WA-              -·
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                             R06-0J\R-20 12-0985 (M ay 11 , 2016);                            Director,
                             Comments hy the Texas C' ommission on                            TCEQ
                             Environmental Quality Regarding
                             Disapproval of J\.ir Qua Ii ty Implementation
                             Plans: Interstate Transpo rt of Air Pollution
                             for the 2008 07.one atio nal Ambient Air
                             Quality Standards
          5       04-11-2016 Luminant com mcnt 1ctte1·to Ron Cuny, EPJ\. Public comment       Stephanie        Ron Curry, EPA
 EPJ\.-R06-0J\R-             Region 6 Regional J\dmi nistrator; Re:        letter document    7,apata Moore,   Region 6
 20 12-0985-0006             Comments of Luminant o n the Disapproval                         General          Regional
                             of Texas's SIP Regarding1 Implementation of                      Counsel,         Administrator
                             the 2008 07.one NJ\.J\.QS Docket 11) No.                         Luminant
                             b'. PA-R06-0AR-2012-09 85; 81 Fed. Reg.
1--------1-------1--         2 _12_9_
                                    0_,,_(A_._p_ii~ 11 , 20 16)
          6       04-27-2016 Comment letter from pub lie citizen Nicholas Public comment      Nicholas         EPA
 EP J\.-R06-0!\R-            Porter;                                       letter document    Porter, public
 2012-0985-0004              Comment: EPA-R06-0J\. R-201 2-0985-0001;                         citizen
                             Re: Air Quality Stale lm1)lemcntation Plans:
                             Approval and Promulgation: Texas: Interstate
                             Transport of J\.ir Pollutio n for the 2008
                             Ozone National Ambient Air Quality
                             Standards: Proposed Rule




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           7           08-04-2015   Notice of Availability of the Environmental      Notice of Data      EPA, l lQ
    jEPA-1 IQ-OAR-                  Protection Agency's Updated Ozone                Avail ability1
    2015-0500-00011                 Transport Modeling Data for the 2008 Ozone       Federal Register
                                    National Ambient Air Quality Standard
                                    (NAAQS); 80 Ped. Reg. 46271 (August 4,
                                    2015) [Dockd N o. EPA-HQ-OAR-2015-
                                    05001
              8        08-04-2015   Notice of Availability of the Environmental      Document, Excel     EPA, HQ
    l_ EPA-1 IQ-OAR-                Protection Agency's Updated Ozone                Spreadsheet
    2015-0500-0007]                 Transport Modeling Data for the 2008 Ozone
                                    National Ambient Air Quality Standard
                                    (NAAQS); 2017 Ozone Contributions (Excel
                                    Spreadsheet); Cross-State Air Pollution Ruic
                                    Update for the 2008 Ozone NAAQS; 80 Fed.
                                    Reg. 46271 (August 4 , 2015) lDocket No.
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-
            9          08-04-2015   Notice of J\ vailability of' the Environmental   Federal Register,   EPA, HQ
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    2015-0500-00081                 Transport Modeling Data for the 2008 Ozone       files document
                                    National Ambient Air Quality Standard
                                    (NAAQS); Notice of Availability of the
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                                    Ozone T ransport Modeling Data for the 2008
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                                  Availability (NO DA): Deta ils a bout
                                  Provided Emissions Data Files; 80 Fed. Reg.
                                  46271 (August 4, 2015) I Doeket o . EPA-
                                  HQ-OAR-2015-0500 I
         10         12-03 -2015   Cross-State Air Pollution Ruic U pdatc for        Proposed Rule,        E PA, HQ
fE PA-1 IQ-OAR-                   the 2008 Ozone NAAQS; 80 Ped. Reg.                Federal Register
20 15-0500-0067)                  75706 (December 3, 2015) I.Doc·ket No.
                                  EPA-1IQj)A R:}O 15-0500 I
          11        12-03 -2015   Cross-State Air Pollution Ru ic l.J pdatc for     Proposed Rule,        EPA, HQ
p. ;p
   . J\-1IQ-OJ\R-                 the 2008 Ozone NJ\J\QS; Ai r Q_uality             TSD document,
201 5-0500-0075.1                 Modeling Technical Supporl D<>cumcnt              Federal Register
                                  (TSD) for the 200 8 07.onc NJ\J\ QS; 80 Fed.
                                  Reg . 75706 (December 3, 20 15) IDocket No.
                                  EP J\-HQ-OAR-2015 -0500
                                                                       -
        12          12-03-20 15   Cross-State A ir Polluti on Ru ic l Jpdate for    Proposed Ruic,        l·:PA , ll Q
[EPA-HQ-OAR-                      the 2008 Ozone NAAQS ; 0:1.0n e Transport         TSO document,
20 15-0500-0 1861                 Policy Analysis TSO; 80 Fed. Rcg. 75706           Federal Register
                                  (December 3, 2015) lDockel o . EPA- I IQ-
                                  OAR-20 15-0500
          13        08-8-2011     Federal Implementation Plans: Interstate          Final Ruic, Federal   EP J\ , HQ
 EPJ\- l IQ-OJ\R-                 Transport or Fi ne Particulate M alter and        Register
   2009-0491                      Ozone and Correction of Slf> J\ pprovals:
                                  Final Ruic: 76 Fed. Reg. 48208 '48238
                                  (August 8, 20 I I)




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                                                         Guidance Authored by EPA

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              - ·
                                                                                                  TYPE-                                    -
       14           0 1-2220 15       EPA Guidance Document " Information on                 Guidance              EPA          EPA Regional
I Docket No. EPA-                     the Intersta te Transport " Good Neighbor''            Document                           Ai r Division
R06-0AR-2012-                         Provis ion fo r lhe 2008 Ozone National                                                   Directors
    09851                             Ambient Air Qual ity Standards ( AAQS)
                                      unde r C lean Air Act (CAA) Section
                                      11O(a)(2)( D)(i)_,_,
                                                        (l)'--
                                                            " __
       15                             E PA Guidance Doc ument " Implementing the             Final Rule, Federal   1--:PA, HQ   EPA Regional
lDockct No. EPA-                      2015 Ozone National /\mbicnt /\ir Quality              Register, GuidanCe                 Administrators
 R06-0AR-20 12-                       Standa rds," from Janet G. McCabe, Acting              document
     0985]                            Assistant Administrator for the Office of Air
                                      and Radiation to Regional Administrators,
                                      Regions 1-10
                                                                                                                                                 -




                                               Other Documents, Data, and Information

      EPA             DATF:                                 T ITLE                            DOCUMENT      AUTHOR              RECIPIENT
     Doc. #                                                                                     TYPE - - 1-
       16           05 -20-20 I 3         Air Quality State Implementation Plans;            Proposed Ru ic,       EPA
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E P/\-R08-0AR-                            Interstate Transport of Pollution fo r the 2006
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       17             08-09-2013   J\.ir Quality State Impl ementation Plans;        Final Rule, Federal   EPJ\.
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  20 12-0'.lSO                     PM2.5 NJ\J\.QS; Final Rule~ 78 Fed. Reg.
                                   4~615 (August 9, 2013);
       18                          Approval and Promulgation or                      Proposed Rule,        EPJ\.
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  2011 -0046                       Contribution to Nonattainment and
                                   Interference Wi th Maintenance
                                   Requirements; Proposed Ruic; 76 Fed. Reg.
                                   146 16 (March 17, 20 11 )_
        19                         Approval and Promulgation of'                     Final Rule, Federal   EPA
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   20 11 -0046                     Conlrihution to Nonattainmenl and
                                   Interforenee With Maintenance
                                   Requirements; final Ruic; 76 Fed. Reg.
                                   34872 (June 15, 2011)
                                                                                                  -
      20                           Approval and Promulgation of State                Proposed Ruic,        EPA
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                                   Fed. Reg. 27 12 1, 27 124-27 125 (May 12,
                                   2015)
                                                                                                                    -
     21                            Approval and Promulgation of Stale                Final Rule. Federal   EPA
Docket ID        0.                Implementation Plans: State of Colorado;          Register
l~PA-R08-0/\.R -                   Interstate Transport of Pollution for the 2006
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